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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     NATHANIEL WADDELL,                                 Case No. 20-cv-01467-SI
                                   8                    Plaintiff,
                                                                                            ORDER OF DISMISSAL
                                   9             v.

                                  10     A. MINTON, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          On June 15, 2020, mail was sent from the court to plaintiff at the address he provided to the

                                  14   court and was returned undelivered on July 13, 2020, bearing a stamp that stated “return to sender

                                  15   – not deliverable as addressed – unable to forward.” Docket No. 15. Plaintiff has not provided a

                                  16   more recent address than the address to which the undeliverable mail was sent. More than sixty

                                  17   days have passed since the mail was returned to the court undelivered. Plaintiff has failed to comply

                                  18   with Local Rule 3-11(a) which requires a party proceeding pro se to “promptly file with the Court

                                  19   and serve upon all opposing parties a Notice of Change of Address specifying the new address”
                                       when his address changes. Local Rule 3-11(b) allows the court to dismiss a complaint without
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                                       prejudice when mail directed to a pro se party is returned as not deliverable and the pro se party
                                  21
                                       fails to send written notice of his current address within sixty days of the return of the undelivered
                                  22
                                       mail. This action is DISMISSED without prejudice because plaintiff failed to keep the court
                                  23
                                       informed of his address in compliance with Local Rule 3-11(a).
                                  24
                                              IT IS SO ORDERED.
                                  25
                                       Dated: October 20, 2020
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                                                                                        ______________________________________
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                                                                                        SUSAN ILLSTON
                                  28                                                    United States District Judge
